17 F.3d 1444NOTICE: Federal Circuit Local Rule 47.6(b) states that opinions and orders which are designated as not citable as precedent shall not be employed or cited as precedent.  This does not preclude assertion of issues of claim preclusion, issue preclusion, judicial estoppel, law of the case or the like based on a decision of the Court rendered in a nonprecedential opinion or order.
    JEPSON, INC. and Ko Shin Electric and Machinery Co., Ltd.,Plaintiffs/Cross-Appellants,v.MAKITA USA, INC. and Makita Corporation of AmericaDefendants/Appellants,andMakita Electric Works, Ltd., Defendant.
    Nos. 93-1225, 93-1226.
    United States Court of Appeals, Federal Circuit.
    Jan. 19, 1994.Rehearing Denied Feb. 28, 1994.
    
      On Appeal from the United States District Court Central District of California (Los Angeles), in Case No. 90-4312.
      C.D.Cal.
      AFFIRMED.
      ARCHER, Circuit Judge, BENNETT, Senior Circuit Judge, and LOURIE, Circuit Judge:
      Judgment
      PER CURIAM.
    
    
      1
      AFFIRMED.  Fed.Cir.R. 36.
    
    